       Case 19-08280            Doc 24        Filed 05/23/19 Entered 05/23/19 15:45:20                        Desc Main
                                                 Document Page 1 of 1

                                             United States Bankruptcy Court
                                         Northern District of Illinois, Eastern Division

IN RE: Kurt S Mathiasson                                         )             Chapter 13
       Esperanza M Mathiasson                                    )             Case No. 19 B 08280
       Debtor(s)                                                 )             Judge Timothy A Barnes

                                                       Notice of Motion

     Kurt S Mathiasson                                                         Debtor A ttorney: David M Siegel
     Esperanza M Mathiasson                                                    via Clerk's ECF noticing procedures
     6605 N Talman Apt 2
     Chicago, IL 60645


                                                                               >   Dirksen Federal Building
On May 30, 2019 at 10:30 am, I will appear at the location listed to the       >   219 South Dearborn
right, and present this motion.                                                >   Courtroom 744
                                                                               >   Chicago, IL 60604
I certify under penalty of perjury that this office caused a copy of this
notice to be delivered to the persons named above by U.S. mail or by the
                                                                               /s/ MARILYN O. MARSHALL
methods indicated on or before Thursday, May 23, 2019.
                                                                               MARILYN O. MARSHALL, TRUSTEE

                                   Motion to Dismiss Case For Unreasonable Delay

Comes now Marilyn O. Marshall, Standing Trustee, and requests that this case be dismissed, as Debtor(s) failed to file the
required documents pursuant to 11 USC §521, §1307, §349, and Rule 3015, and in support thereof states the following:

1.   Debtor(s) filed for Chapter 13 on 03/22/2019.

2.   The debtor(s) have failed to provide an Affidavit of Compliance.

3.   The debtor(s) have failed to address the proof of claim filed by the Internal Revenue Service regarding unfiled tax returns
     for tax year(s) 2018.

4.   The debtor(s) have failed to maintain payments to the Trustee's office as required under 11 U.S.C. §1326.

5. The debtor failed to amend schedule E to list 2018 taxes owed.

6. The debtor failed to provide proof of food and transportation expenses.

7. The debtor failed to amend the plan to use the preferred Trustee's tax return/refund language in part 2.3.

8.   The debtor's failure to confirm a plan in a timely manner constitutes unreasonable delay.

WHEREFORE, the Trustee prays that this case be dismissed, and for any and all other relief this court deems just and proper.


Office of the Chapter 13 Trustee                                               /s/ MARILYN O. MARSHALL
224 S Michigan Ave                                                             MARILYN O. MARSHALL, TRUSTEE
Ste 800
Chicago, IL 60604
(312) 431-1300
